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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                       Chapter 11

        Albert M. Lefkovits                                 Case no. 17-12845

                                    Debtor.
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                                                    ORDER

        Upon the motion (the “Motion”) of Albert M. Lefkovits the debtor and debtor-in-

possession (the “Debtor”), seeking dismissal of this Chapter 11 case, and after due deliberation

and sufficient cause appearing therefor, it is

                 ORDERED, under 11 U.S.C. § 1112(b) and 305(a), that this case commenced

under Chapter 11 of the Bankruptcy Code be, and hereby is, dismissed with prejudice (i.e., a bar

to refiling) to the Debtor’s right to commence any other bankruptcy proceedings for a period of

one year from the date that this order is entered on the docket by the Clerk of the Court (the “Bar

to Refiling Period”); and it is further

                 ORDERED, that in the event that any party commences involuntary bankruptcy

proceedings against the Debtor during the Bar to Refiling Period, such filing will not operate as

an automatic stay as against or to prevent Signature Bank, its successors, agents or assigns from

exercising their rights with respect to the Debtor’s property located at 1040 Park Avenue,

Apartments IB and IC, or the cooperative apartment shares and proprietary leases appurtenant

thereto, or any other collateral security of Signature Bank relating to debts owed to Signature

Bank by the Debtor; and it is further

                 ORDERED, that the Debtor pay to the United States Trustee the appropriate sum

required under 28 U.S.C. §1930 within ten (10) days of the entry of this order and
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simultaneously provide to the United States Trustee an appropriate affidavit indicating the cash

disbursements for the relevant periods.

Dated: New York, New York
       January 17th, 2018


                                             /s/ STUART M. BERNSTEIN__________
                                             UNITED STATES BANKRUPTCY JUDGE




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